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 8                 IN THE UNITED STATES DISTRICT COURT FOR THE

 9                          EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,           )    1:04-cr-05362 AWI
                                         )
12                      Plaintiff,       )    ORDER ON STATE OF CALIFORNIA
                                         )    WRIT FOR HABAES CORPUS AD
13          v.                           )    PROSEQUENDUM
                                         )
14   ANDREW VALENZUELA,                  )
                                         )
15                      Defendant.       )
                                         )
16

17          On September 20, 2005, the Honorable Ralph Nunez, Superior

18   Court Judge for the State of California, County of Fresno,

19   requested that the body of the above-named defendant be produced

20   in Fresno County Superior Court for sentencing in the case of

21   People v. Andrew Valenzuela, et al..          The preliminary hearing in

22   that action is now to commence on September 21, 2005.                The

23   defendant is currently in the custody of the United States

24   Marshal, charged in the above-entitled action.            It appearing that

25   the defendant's presence is needed in the state action, and that

26   the next court appearance in the above-entitled case is October

27   11, 2005;

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 1            IT IS HEREBY ORDERED that deputies of the Fresno County

 2   Sheriff's Office may take custody of the defendant pursuant to the

 3   terms of the writ, attached hereto, and return him to the custody

 4   of the United States Marshal immediately after his preliminary

 5   hearing and no later than September 23, 2005.

 6            IT IS FURTHER ORDERED that the defendant not be transported

 7   to State Prison prior to being returned to the custody of the

 8   United States Marshal.

 9   IT IS SO ORDERED.

10   Dated:     September 20, 2005         /s/ Lawrence J. O'Neill
     b9ed48                          UNITED STATES MAGISTRATE JUDGE
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